               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    Civil Case No. 1:09-cv-00436-MR
                [Criminal Case No. 1:06-cr-00251-MR-2]


CHRISTOPHER ALLEN HUNTER,       )
                                )
              Petitioner,       )
                                )               MEMORANDUM OF
               vs.              )               DECISION AND ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
             Respondent.        )
_______________________________ )

      THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence, filed pursuant to 28 U.S.C. § 2255 [Doc. 1],

and Respondent’s Motion to Dismiss [Doc. 6].

I.    FACTUAL AND PROCEDURAL BACKGROUND

      On October 6, 2006, Petitioner was charged in a Bill of Indictment,

along with nine co-defendants, with conspiracy to possess with intent to

distribute 50 grams or more of a mixture or substance containing a

detectable amount of cocaine base, in violation of 21 U.S.C. §§ 841 and 846.

[Criminal Case No. 1:06-cr-00251, Doc. 3: Indictment].                Following

Petitioner’s initial appearance on January 31, 2007, attorney Eric J. Foster

was appointed to represent Petitioner. [Criminal Case No. 1:06-cr-00251,



     Case 1:06-cr-00251-MR-WCM   Document 368    Filed 01/17/13   Page 1 of 19
Doc. 89]. On February 7, 2007, Petitioner appeared with Mr. Foster for an

arraignment, at which time Petitioner entered a plea of not guilty. Mr. Foster

later filed a notice of Petitioner’s intent to change his plea. [Criminal Case

No. 1:06-cr-00251, Doc. 114].

      On February 26, 2007, Petitioner appeared with Mr. Foster for his Rule

11 hearing before the Honorable Dennis L. Howell, United States Magistrate

Judge. At the hearing, Mr. Foster confirmed to the Court that Petitioner had

elected to plead guilty without the benefit of a plea agreement. [Criminal

Case No. 1:06-cr-00251, Doc. 274: Transcript of Plea and Rule 11 Hearing

at 2]. Judge Howell then engaged in a thorough colloquy with Petitioner. In

response to Judge Howell’s questions, Petitioner affirmed under oath,

among other things: (1) that he had reviewed the Bill of Indictment with his

attorney [Id. at 6]; (2) that he was pleading guilty to Count One as contained

in the Bill of Indictment [Id. at 6-7]; (3) that he understood the minimum and

maximum penalties based on the amount of cocaine base alleged in the Bill

of Indictment [Id. at 8-9]; (4) that he was in fact guilty of Count in the Bill of

Indictment to which he was pleading [Id. at 13]; (5) that his guilty plea was

voluntary and not the result of any coercion, threats or promises [Id.]; (6) that

his willingness to plead guilty was not the result of any prior discussions

between his attorney and the attorney for the Government [Id. at 14]; (7) that
                                        2



    Case 1:06-cr-00251-MR-WCM      Document 368    Filed 01/17/13   Page 2 of 19
he and the Government had not entered into a plea agreement of any kind or

nature in this case [Id.]; and (8) that he had had ample time to discuss any

possible defenses with his attorney [Id.].   Petitioner further affirmed that he

was “entirely satisfied” with the services of his attorney.         [Id.].   After

thoroughly questioning Petitioner, Judge Howell found that the plea of guilty

was knowingly and voluntarily made, and he therefore accepted Petitioner’s

guilty plea. [Criminal Case No. 1:06-cr-00251, Doc. 127: Rule 11 Inquiry and

Order of Acceptance of Unwritten Plea at 8].

     Following Petitioner’s guilty plea, a presentence investigation report

(PSR) was prepared.      In the PSR, the Probation Officer concluded that

Petitioner was responsible for at least 500 grams of cocaine base. [Criminal

Case No. 1:06-cr-00251, Doc. 245: PSR at 7].

     On December 31, 2007, Petitioner’s counsel moved to withdraw from

further representation citing his exit from private practice and imminent

employment with the North Carolina Public Defender’s Office.            [Criminal

Case No. 1:06-cr-00251, Doc. 204]. This motion was allowed and Petitioner

was appointed new counsel, Janna Allison.        [Criminal Case No. 1:06-cr-

00251, Doc. 205].     Following her appointment, Ms. Allison filed several

objections to the PSR, particularly to the findings regarding the drug quantity


                                      3



    Case 1:06-cr-00251-MR-WCM    Document 368     Filed 01/17/13   Page 3 of 19
attributed to Petitioner.     [Criminal Case No. 1:06-cr-00251, Doc. 244:

Objections to Presentence Report].

      The parties appeared before the Honorable Lacy H. Thornburg, United

States District Judge, for a sentencing hearing on April 23, 2008.1                   In

objecting to the amount of drugs attributable to Petitioner, Ms. Allison argued

that the 500 grams attributed to Petitioner in the plea agreement was an

amount ascertained solely from statements by Petitioner during his

debriefing to DEA agents during his cooperation, and that because such

statements were made while providing assistance to the Government, they

should not be used to increase his punishment. Ms. Allison further argued

as follows:

              [T]his case is different from any case that I’ve ever
              seen before. I’ve never seen a straight-up plea
              agreement [sic] with an open-ended drug amount.
              This is a case that I was appointed after Mr. Foster
              went to the public defender’s office. But it was a
              straight-up plea and the amount was at least 50
              grams that he was held accountable for. And,
              perhaps, that’s part of the problem here.

[Criminal Case No. 1:06-cr-00251, Doc. 275: Transcript of Sentencing

Hearing at 6]. In response, the attorney for the Government stated to the

Court as follows:


1
Judge Thornburg has since retired, and this case was reassigned to the undersigned.
                                           4



    Case 1:06-cr-00251-MR-WCM       Document 368      Filed 01/17/13   Page 4 of 19
           I, too, am I [sic] little puzzled by this was [sic] a
           straight-up plea. We sent a plea agreement out to
           Mr. Foster, and since he’s no longer in the case, he’s
           not available for the Court to inquire about that. And I
           was actually looking through the file to see if I could
           find what plea offer we sent him, in terms of what
           drug amount we sent, but I don’t have a copy of the
           file [sic]. But that’s really neither hear [sic] nor there
           because he didn’t sign the plea agreement.

[Id. at 6-7]. Counsel for the Government went on to explain to the Court why

the Government would not be seeking a reduction in Petitioner’s sentence

based upon the assistance he provided to the Government:

           [T]here’s not going to be a 5K motion in this case,
           mainly, for two reasons, one of which is he pled
           straight up….

           So that’s one reason. And the other reason is,
           although he gave a debrief and it was truthful, and I
           think he was cooperative, it just didn’t yield anything,
           and so we generally don’t give 5Ks on that basis
           anyway. But even if he had, we wouldn’t have been
           in a position to offer him a 5K since there was no plea
           agreement.

           Again, Mr. Foster is not here, so I can’t inquire about
           why they chose that route.

[Id. at 7-8]. The Government went on to argue that the drug quantity of 500

grams attributed to Petitioner was supported not only by Petitioner’s

statements to agents but also by the amount of drugs that was possessed by

other members of the conspiracy which was reasonably foreseeable to

                                       5



    Case 1:06-cr-00251-MR-WCM     Document 368    Filed 01/17/13   Page 5 of 19
Petitioner.   [Id. at 9].   Counsel for the Government went on to state as

follows:

              I do think it’s unfortunate that this was a straight-up
              plea rather than, you know, a plea by plea
              agreement. Like I said, I don’t remember the amount
              that we would have agreed to recommend to the
              Court. It probably would have been less than [the
              500 grams attributed to Petitioner in the PSR], but he
              chose this route, presumably, to preserve appeal
              rights. I don’t know.

[Id. at 10]. The Court overruled Petitioner’s objections related to the amount

of cocaine base attributable to Petitioner in the conspiracy.           [Id. at 15].

Calculating Petitioner’s offense level to be 34 and a criminal history category

of V, the Court determined the appropriate Guidelines range to be 235 to

293 months. [Id.].

      Following the Court’s pronouncement of the Guidelines range, counsel

for the Government expressed his disappointment that Petitioner was not

being sentenced in the range of 151 to 158 months’ imprisonment, stating, “I

don’t understand what the strategy was by pleading straight up rather than

signing a plea agreement, but that’s where we are, so I hope the Court will

give him the bottom of the guideline range.” [Id. at 19].

      When given the opportunity by the Court to allocute, Petitioner stated,

in pertinent part, as follows:

                                        6



    Case 1:06-cr-00251-MR-WCM      Document 368    Filed 01/17/13   Page 6 of 19
               I thought I was doing the right thing by helping these
               officers out. Why I got – I did not know at the time I
               was signing a guilty plea. I would never sign – he
               never came to me about a plea bargain. Why that is,
               I don’t know. When I came – when I came up there
               to sign my papers, I thought I was signing a guilty
               plea, and if I was signing a guilty plea, I was signing
               50 grams to 150 grams.

[Id. at 18].

      After hearing the further arguments of counsel, as well as the

statements of Petitioner, the Court reconsidered its original calculation of the

appropriate Guidelines range:

               The Court has reconsidered its original ruling
               concerning the appropriate guideline range and
               offense level, and taking into consideration the
               sentences entered by the Court – by this Court as to
               the other defendants involved in the conspiracy and
               the relative involvement of the parties and,
               particularly, the complete and total cooperation of this
               defendant and its effect on the solving of the
               problems related to an extensive conspiracy over a
               period of years and what appears to be a breakdown
               in representation of the defendant by his then
               attorney, the Court concludes that this is a case in
               which the Court should exercise its discretion in
               reaching a fair and just sentence in the case,
               particularly after considering the 3553 factors as the
               Court is required to do.

               So rather than [an] offense level of 34, the Court will
               depart to an offense level of 33 – or 32 – excuse me
               – Criminal History Category V, which gives a
               guideline range of 188 to 235 months.

                                          7



    Case 1:06-cr-00251-MR-WCM        Document 368    Filed 01/17/13   Page 7 of 19
[Id. at 19-20]. The Court thereafter sentenced Petitioner to a term of two

hundred (200) months’ imprisonment. [Criminal Case No. 1:06-cr-00251,

Doc. 260: Judgment in a Criminal Case at 2].

      Following entry of Judgment, Petitioner noted a timely appeal to the

United States Court of Appeals for the Fourth Circuit. [Criminal Case No.

1:06-cr-00251, Doc. 262]. On appeal, Petitioner’s appellate counsel, Sue

Genrich Berry, filed a brief pursuant to Anders v. California, 386 U.S. 738, 87

S.Ct. 1396, 18 L.Ed.2d 493 (1967), but also asserted that Petitioner received

ineffective assistance of counsel at the trial level because a plea offer from

the Government was not disclosed prior to his decision to enter his plea of

guilty. See United States v. Hunter, No. 08-4523, 2008 WL 5599619 (4th

Cir. 2008) (unpublished). Regarding this issue, the Fourth Circuit stated as

follows:

           Although [Petitioner] contends he was denied
           effective assistance of counsel because he was
           never presented with a proposed plea agreement that
           would have resulted in a lower sentencing guidelines
           range, see United States v. Blaylock, 20 F.3d 1458,
           1465-66 (9th Cir. 1994) (failing to inform defendant of
           plea offer was unreasonable assistance), because it
           does not “conclusively appear on the record that
           [Petitioner] was denied effective assistance, this
           claim should be asserted by [Petitioner] in a post-
           conviction motion under 28 U.S.C. § 2255 (2000)
           rather than on direct appeal. See United States v.
           Richardson, 195 F.3d 192, 198 (4th Cir. 1999) (“A
                                      8



    Case 1:06-cr-00251-MR-WCM    Document 368    Filed 01/17/13   Page 8 of 19
           claim of ineffective assistance of counsel should be
           raised by a habeas corpus motion under 28 U.S.C. §
           2255 in the district court and not on direct appeal.”)
           (internal quotation marks, brackets and citation
           omitted).    During the plea colloquy, [Petitioner]
           informed the district court that he discussed possible
           defenses with trial counsel and that he was entirely
           satisfied with his attorney’s services.         These
           declarations “carry a strong presumption of verity.”
           Blackledge v. Allison, 431 U.S. 63, 74 (1977); see
           United States v. DeFusco, 949 F.2d 114, 199 (4th Cir.
           1991) (holding that defendant’s statement at Rule 11
           hearing that he was neither coerced nor threatened
           was “strong evidence of the voluntariness of his
           plea”).

           Moreover, although the Government indicated at
           sentencing that a plea agreement was sent to trial
           counsel prior to the Rule 11 hearing, a proposed plea
           agreement was never mentioned by the Government
           at the Rule 11 hearing, the Government could not
           produce a copy of the proposed plea agreement at
           sentencing, and it is unclear whether trial counsel
           ever received a plea agreement – assuming one
           existed – from the Government. Without evidence
           from trial counsel regarding his failure to present the
           proposed      plea    agreement       to    [Petitioner],
           consideration of this issue is premature.           See
           DeFusco, 949 F.2d at 120-21 (“[I]t would be unfair to
           adjudicate [an ineffective assistance claim] without
           any statement from counsel on the record.”).

Accordingly, the Fourth Circuit affirmed Petitioner’s conviction and sentence.

Id. The present Section 2255 motion followed.




                                      9



    Case 1:06-cr-00251-MR-WCM    Document 368    Filed 01/17/13   Page 9 of 19
II.     DISCUSSION

        In his motion, Petitioner raises various claims of ineffective assistance

of counsel, and all claims with any potential merit stem from the failure of his

trial counsel to share a proposed plea agreement from the Government prior

to the entry of his guilty plea.

        The Sixth Amendment to the United States Constitution guarantees the

accused in a criminal prosecution the right to the assistance of counsel for

his defense. U.S. Const., amend. VI. “The right to counsel is the right to

effective assistance of counsel.” Missouri v. Frye, 132 S.Ct. 1399, 1404, 182

L.Ed.2d 379 (2012). It is well-established that the right to effective counsel

extends to all critical stages of the criminal proceeding, including the

negotiation of a plea bargain. See Hill v. Lockhart, 474 U.S. 52, 56, 106

S.Ct. 366, 88 L.Ed.2d (1985); Padilla v. Kentucky, __ U.S. __, 130 S.Ct.

1473, 1486, 176 L.Ed.2d 284 (2010).

        In order to prevail on a claim of ineffective assistance of counsel, a

petitioner must show that: (1) “counsel’s representation fell below an

objective standard of reasonableness,” and (2) “the deficient performance

prejudiced the defense.” Strickland v. Washington, 466 U.S. 668, 687-88,

104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). In making this determination, there

is “a strong presumption that counsel’s conduct falls within the wide range of
                                        10



      Case 1:06-cr-00251-MR-WCM    Document 368    Filed 01/17/13   Page 10 of 19
reasonable professional assistance.” Id. at 689, 104 S.Ct. 2052; see also

Fields v. Attorney Gen. of State of Md., 956 F.2d 1290, 1297-99 (4th Cir.

1992); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983). In

considering the prejudice prong of the Strickland analysis, the Court “can

only grant relief . . . if the ‘result of the proceeding was fundamentally unfair

or unreliable.’” Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998) (quoting

Lockhart v. Fretwell, 506 U.S. 364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180

(1993)). The petitioner “bears the burden of proving Strickland prejudice.”

Fields, 956 F.2d at 1297. If the petitioner fails to meet this burden, the Court

“need not consider the performance prong.” Id. at 1290 (citing Strickland,

466 U.S. at 697, 104 S.Ct. 2052).

      Here, Petitioner makes several claims of ineffective assistance of

counsel against both of his trial attorneys.        With respect to Mr. Foster,

Petitioner claims that he “incompetently advise[d] the petitioner to plead

guilty based on incompetent legal advice and inducing the petitioner to plead

through coercion, persuasion, duress and oral bargaining not memoralized in

his final written Plea Agreement.” [Doc. 1 at 2].

      Regarding Petitioner’s claim that Mr. Foster provided incompetent legal

advice in order to secure a guilty plea, Petitioner fails to state what faulty

advice was provided or how such advice induced him to plead guilty.
                                       11



   Case 1:06-cr-00251-MR-WCM      Document 368      Filed 01/17/13   Page 11 of 19
Moreover, Petitioner does not assert that but for this incompetent advice,

there would have been a different outcome. When evaluating a petitioner’s

claim that ineffective assistance led to the improvident acceptance of a guilty

plea, the Court requires that petitioner to “show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Lafler v. Cooper, __ U.S. __, 132

S.Ct. 1376, 1384, 182 L.Ed.2d 398 (2012) (quoting Strickland, 466 U.S. at

694, 104 S.Ct. 2052). Absent a showing from Petitioner that but for Mr.

Foster’s unspecified incompetent advice the outcome of the plea proceeding

would have been different, Petitioner’s claim for ineffective assistance must

necessarily fail.

      Petitioner also claims that his guilty plea was coerced and made under

duress. He further contends that he believed he was pleading, pursuant to a

plea bargain, to a drug amount between 50 grams and 150 grams. [Doc. 1

at 5; see also Criminal Case No. 1:06-cr-00251, Doc. 275: Sentencing

Transcript at 18]. These arguments, however, are clearly refuted by the

Rule 11 colloquy administered by the Magistrate Judge, wherein Petitioner

agreed under oath that his guilty plea was voluntary and not the result of any

coercion, threats or promises; that his willingness to plead guilty was not the

result of any prior discussions between his attorney and the attorney for the
                                      12



   Case 1:06-cr-00251-MR-WCM     Document 368    Filed 01/17/13   Page 12 of 19
Government; and that he and the Government had not entered into a plea

agreement of any kind or nature in this case. In evaluating post-conviction

claims of ineffective assistance, statements previously made under oath in

the course of a Rule 11 proceeding are deemed binding in the absence of

“clear and convincing evidence to the contrary.” Fields, 956 F.2d at 1299;

Blackledge v. Allison, 431 U.S. 63, 74, 97 S.Ct. 1621, 52 L.Ed.2d 136 (1977)

(noting that a defendant’s sworn statements during a Rule 11 hearing “carry

a strong presumption of verity”). Petitioner makes no effort to overcome the

strong presumption in favor of accepting the verity of his sworn statements

made at the Rule 11 hearing. These arguments, therefore, are without merit.

     Petitioner further alleges that Mr. Foster was incompetent in failing to

preserve for the record “oral bargaining not memorialized in his final written

plea agreement.” [Doc. 1 at 2]. Again, Petitioner fails to assert what these

undisclosed agreements might have been or whether counsel’s allegedly

deficient performance altered his decision to plead guilty.      In any event,

however, it is clear from the record that Petitioner pled guilty without the

benefit of any “written plea agreement.” At the Rule 11 hearing, Petitioner

indicated that he understood that he was pleading guilty without a plea

agreement “of any kind or nature.” [Criminal Case No. 1:06-cr-00251, Doc.

274-1: Rule 11 Transcript at 14]. Petitioner’s statements during the Rule 11
                                     13



   Case 1:06-cr-00251-MR-WCM    Document 368    Filed 01/17/13   Page 13 of 19
hearing clearly establish that there was no written plea agreement with the

Government. Thus, Petitioner’s argument regarding his alleged written plea

agreement is without merit.

      The main crux of Petitioner’s motion appears to be his claim that Mr.

Foster rendered ineffective assistance when he failed to convey a plea offer

from the Government to Petitioner.2            [See Doc. 1 at 10-11].          Where a

petitioner asserts ineffective assistance of counsel based on counsel’s

failure to communicate a plea offer, Strickland requires that a petitioner first

“demonstrate a reasonable probability that [he] would have accepted the

earlier plea had [he] been afforded effective assistance of counsel.” Frye, __

U.S. at __, 132 S.Ct. at 1409. In addition to showing that he would have

accepted the earlier plea offer, the petitioner must show that, “if the

prosecution had the discretion to cancel it or if the trial court had the

discretion to refuse to accept it, there is a reasonable probability neither the

prosecution nor the trial court would have prevented the offer from being

accepted or implemented.” Id. at 1410.


2 The Court notes the obvious contradictions in Petitioner’s positions. On the one hand,
he argues that he had an oral plea agreement for a joint recommendation regarding drug
quantities but counsel was ineffective for having failed to memorialize such agreement in
writing. On the other hand, Petitioner argues that he did not know the terms that had
been offered by the Government. Nonetheless, the record is clear that Petitioner entered
his plea at the Rule 11 hearing with the expressed understanding that he had no plea
agreement, whether written or oral.
                                             14



    Case 1:06-cr-00251-MR-WCM        Document 368      Filed 01/17/13    Page 14 of 19
      With regard to the deficient performance prong of Strickland, counsel

for the Government indicated at the sentencing hearing that he had

forwarded a plea offer to Petitioner’s counsel prior to the entry of the guilty

plea, although the Government did not have a copy of such offer in its file

and counsel for the Government could not recall its terms. Whether Mr.

Foster actually communicated any such offer to Petitioner, however, is

frankly unclear. While Petitioner contends that Mr. Foster failed to convey

any plea offer to him [see Doc. 1 at 10], Petitioner also appears to contend

that he had entered into some kind of plea bargain with the Government for

a lesser drug quantity [see Doc. 1 at 2 (arguing that Mr. Foster “failed to give

the court full disclosure of the plea bargain” at the Rule 11 hearing)].

      Assuming that Mr. Foster in fact failed to advise Petitioner of the plea

offer prior to the guilty plea, however, Petitioner fails to allege (much less

demonstrate) a reasonable probability that he would have accepted the plea

offer. See Frye, __ U.S. at __, 132 S.Ct. at 1409. In fact, Petitioner has

alleged that he knew of the offer [Doc. 1 at 2], but he knowingly pleaded

guilty without a plea agreement of any kind [Criminal Case Doc. 127], thus

implying he did not accept it (for whatever reason).          More importantly,

however, even if Petitioner could make such a showing, Petitioner cannot

demonstrate a reasonable probability that this plea agreement would have
                                       15



   Case 1:06-cr-00251-MR-WCM      Document 368    Filed 01/17/13   Page 15 of 19
been accepted by the Court.        Petitioner contends that the plea offer

contained a stipulation to a lesser drug quantity, which would have resulted

in a reduced sentence. [See Doc. 1 at 3-4]. Even assuming that the parties

had reached a stipulation regarding the amount of drugs attributable to

Petitioner, however, such stipulation would only have been a joint

recommendation to the Court and would not have been binding on the Court.

See, e.g., United States v. Ponce, 50 F. App’x 614, 621 (4th Cir. 2002)

(noting that where parties enter into non-binding plea agreement, district

court is “free make an individual finding as to drug quantity and to impose a

sentence upon [defendant] in accordance with its findings”). Here, the PSR

clearly supports a finding that the amount of cocaine base attributable to

Petitioner was at least 500 grams. In light of this evidence, any hypothetical

stipulation reached by the parties in a plea agreement regarding a lesser

amount of drugs would have been rejected by the Court, and Petitioner

would have been sentenced in accordance with the evidence of record. The

only basis on which Petitioner argues that the evidence of drug quantity

would have been rejected was the manner in which the information was

obtained. That, however, was fully argued at the sentencing hearing, refuted

by the Government, and rejected by the Court.        As such, Petitioner has

shown no Strickland prejudice. Moreover, the Court varied downward by two
                                     16



   Case 1:06-cr-00251-MR-WCM     Document 368   Filed 01/17/13   Page 16 of 19
offense levels based on the arguments of counsel that Petitioner may have

had an opportunity for a lower sentence if he had entered into a plea

agreement. Petitioner has presented nothing whatsoever to indicate that he

could have received a sentence lower than the one actually received if he

had entered into a plea agreement. For these reasons, the Court concludes

that Petitioner has failed to satisfy the prejudice prong of Strickland, and

therefore his ineffective assistance claims regarding the performance of Mr.

Foster must be dismissed.

      Petitioner also asserts ineffective assistance claims against his

counsel at sentencing, Ms. Allison. Specifically, he contends that Ms. Allison

failed to object to the portion of the PSR that listed his attributable drug

amount to be 500 grams. [Doc. 1 at 5]. Contrary to Petitioner’s argument,

however, Ms. Allison did object, both orally and in writing, to the drug amount

calculations in the PSR. Accordingly, this claim is without merit.

      Petitioner also contends that Ms. Allison’s failure to subpoena and

cross-examine the case agent from the DEA about the drug amount

constituted deficient performance. [Doc. 1 at 9-10]. Again, Petitioner fails to

allege what this cross-examination might have yielded or how the absence of

such information somehow prejudiced him. The “Offense Conduct” section of

the PSR (to which the Petitioner stipulated subject to the written objections)
                                      17



   Case 1:06-cr-00251-MR-WCM     Document 368    Filed 01/17/13   Page 17 of 19
was taken from reports authored by and interviews of the DEA agent. [See

Criminal Case No. 1:06-cr-00251, Doc. 245: PSR at 4]. Petitioner fails to

assert how calling the DEA agent as a witness to testify under oath to what

was already contained in the PSR would have been helpful to the Petitioner

in any way. More particularly, Petitioner does not show how calling this

witness to testify would have resulted in a lighter sentence.

      Finally, Petitioner faults Ms. Allison for failing to request a motion to

continue the sentencing hearing to “straighten out the dispute on Hunter’s

Plea Agreement.” [Doc. 1 at 12]. As discussed above, there was no plea

agreement about which to have a dispute. Petitioner fails to allege what

benefit could have been obtained by receiving a continuance of the

sentencing hearing. Accordingly, this claim too is without merit.

      Based on the foregoing, the Court finds that Petitioner’s Motion to

Vacate, Set Aside or Correct Sentence should be denied and dismissed.

Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, the

Court declines to issue a certificate of appealability on the claims which are

denied and dismissed as Petitioner has not made a substantial showing of a

denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell,

537 U.S. 322, 336-38, 123 S.Ct. 1029, 1039-1041, 154 L.Ed.2d 931 (2003)

(in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable
                                      18



   Case 1:06-cr-00251-MR-WCM     Document 368    Filed 01/17/13   Page 18 of 19
jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595,

146 L.Ed.2d 542 (2000) (when relief is denied on procedural grounds, a

petitioner must establish both that a dispositive procedural ruling is

debatable, and that the petition states a debatable claim of the denial of a

constitutional right).

IV.     ORDER

        IT IS, THEREFORE, ORDERED that the Respondent’s Motion to

Dismiss [Doc. 6] is GRANTED.

        IT IS FURTHER ORDERED that Petitioner’s Section 2255 Motion

[Doc. 1] is DENIED and DISMISSED.

        IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

        IT IS SO ORDERED.

                                  Signed: January 17, 2013




                                             19



      Case 1:06-cr-00251-MR-WCM      Document 368            Filed 01/17/13   Page 19 of 19
